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              IN THE UNITED STATES DISTRICT COURT
            FORT THE NORTHERN DISTRICT OF GEORGIA

___________________________________
                                    )
TAMAH JADA CLERK EX REL             )
ANTI-SEMITISM DEFENSE LEAGUE        )
                                    )
                                    )              Case No.: 1:23-cv-5840-JPB
                Plaintiff,          )
                                    )
                                    )
v.                                  )
                                    )
                                    )
X CORP., et al,                     )
                                    )
                Defendants.         )
____________________________________)

  DEFENDANT WORLD JEWISH CONGRESS’S MOTION TO STRIKE

      Defendant World Jewish Congress (“WJC”) moves to strike the document it

filed at ECF No. 30, which was inadvertently filed in error. The correct document

that WJC intended to file has been filed at ECF No. 31.

Dated: March 6, 2024                  Respectfully submitted,

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         LOCAL RULE 7.1(D) CERTIFICATE OF COMPLIANCE

      I certify that this motion has been prepared with one of the font and point

selections (14 Times New Roman) approved by the court in Local Rule 5.1(B).

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                         CERTIFICATE OF SERVICE

      I certify that, on March 6, 2024, I served this document by electronically filing

it with the Clerk of the Court using the CM/ECF system and by sending it by first-

class mail and by email to:

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